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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
  UNITED STATES OF AMERICA
  Plaintiff

  v.
  YARITZA FRANCESCHI-MALAVE                          CIVIL 05-383CCC
  Defendant


                                            ORDER
        This action is before us for payment of attorney fees under the Criminal Justice Reform
Act for attorney Juan J. Hernandez-Lopez de Victoria’s representation of defendant Yaritza
Franceschi-Malave.
        The Court contemplates making the following reductions: minor reductions from the
amounts claimed on the time sheet for entries claiming excessive amounts for minor tasks, e.g.
10/06/2006 – .30 claimed for “Receipt and review court notifications Re: trial postponed.
Reductions on items for insufficient information regarding the tasks, e.g.11/23/2005 –2 hours
claimed for “preparation of extrajudicial discovery request.”
        Five hours are claimed for 3/28/2006 for “[c]ontinued preparation for trial, including
witness interviews, voir dire questions and instructions.” However, plea negotiations had been
ongoing for two months and no jury instructions or voir dire were ever filed. Five of eight hours
are claimed from March 17 through 23, 2006 for legal research. No reference to motion(s)
filed or need to research on the listed subject were identified; that is, there are no references to
motions filed or reason to conduct this research for benefit of the client.

        Accordingly, counsel for defendant Yaritza Franceschi-Malave shall state by May 1, 2007,
the reasons why these reductions should not be made.
        SO ORDERED
        At San Juan, Puerto Rico on April 19, 2007.

                                                           S/CARMEN CONSUELO CEREZO
                                                           United States District Judge
